Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 1
                                                             1 of
                                                               of 40
                                                                  40 PageID:
                                                                     PageID: 12365
                                                                             12585




              EXHIBIT A
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 2
                                                             2 of
                                                               of 40
                                                                  40 PageID:
                                                                     PageID: 12366
                                                                             12586




                                             

                           
                  !
 " #   $         % &  '
              ()*+),-./))
 001,,                     ,)*+)02343
      56      7    #  
 *6  #  %8 *6  *  "   
     6  !&  $    56  #  
   6    * 9 :6*   6    * 9 ;   <  
 ; ( 6    * 9 <  55*=$== 6    * 9 <  ; (
   6     ; (   6          & (

                                                 
                                                  
           (    > 86 2.20     "      
          #  %8     6    
    >  " *6  5 "  " 
 "     "?  6  95    (

           (    9  6  6    @        
 % 20202 *6               
                  ( ?   
 /10 "                 (6  ?  6 
   6 24  &    ) 3    
   6     6      6  
   6     ?  ? (

      *(              6           
 % 2020. *6                   (

         #(     > "20,  &  @6              
 6      6            "6 
 *  ;   %A$     *6 (9        
  6     "2020/ *6       (> "42020   
       "  86:   "  86 6  
    (

        B(       6        6         56 
                   
 6    56 (

         9(    9   *6 @                
 &      (  ?         6  
  @     $  56   

                                                  



                                                                 Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 3
                                                             3 of
                                                               of 40
                                                                  40 PageID:
                                                                     PageID: 12367
                                                                             12587



                  
  $      $ 6     $ &   
  )    86 2 86 -2020   #  68 "
 6       86 -2020         
   6           6 6     6    (


                                                  

         * *6  (*6   *      * * *6    
 !  >  C555&5$59 55* 86 :6 <$:$  C
  &(*(

         *  (*   *  "     6 6 
    *6    D         >
       %             
          (

         B # (B #      -/   
     *6             
 D6   E6    E6 ?          
 D6       -/)    6  
 ?   6    6           
        9    > 86        6 
         (

         9    > 86  (9    > 86   
 *6 @            86   
            D6  
 56      86     6       
 B?    *6 (

        %    6 (%    6       6 
    "? 6     6  6   ;  &    % 
 &      @9 5   B?  &  &         
 &  (

        >     % (>     %  
        %      F #  
  66  % &  @"       % % 
 &   E6 6       B? 2 (

         &  &  (&  &       6  &  
          6 *  @&       200,
 &  G* (5(*HH21.4 E(I/000   "? 6     6 
          6  &       * 
 " $ " *  6      (&66  
                                               2



                                                                  Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 4
                                                             4 of
                                                               of 40
                                                                  40 PageID:
                                                                     PageID: 12368
                                                                             12588



                
 &  3/J &  &  I2/0   5 :$
 #     5:#  2/J &  &  I-3/0  
      * " (

          F & (F &    6    * 9 :6
 *   6    * 9 ;   <  ; ( 6    * 
 9 <  55*=$== 6    * 9 <  ; ( 6    
  ; ( 6    * 9 ?; (      
 6 6  6   6       
 D  6 6    K   6    
       6 6    $  
    6 6  6       
  6  6  6   6  6D  6  
    6       (

         F #  (F #       *  
     * "  6  $% >D       
           * "  6  $> )>6 FE6   
         (F #   ,/       
         %          6  ,/   
   6      F #   ?    
  ?   7((&   (

           (            6
      6      F &   6     
 56 (

            * (   *              * "     
  6       (        6 !&   $
    *  ;   %A$     * 66  9 F6 
 * &6F6 2-(   *       '

            ( ; 6 $ 6     *       " 
                      "200 6     
                   % G
            ( ; 6 $ 6     ;       "  
                     "20 6        
                % G
            ( ; 6 $ 6     %A$     
                "       "2004 6     
                   % (

          "? 6     6 (; 6         56  
     F       6          ? 6 
 6 I.1-.00  "? 6     6      
    *      * "   6    *   
                                               -



                                                                   Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 5
                                                             5 of
                                                               of 40
                                                                  40 PageID:
                                                                     PageID: 12369
                                                                             12589



                    
         * " G ;  &    % &  G &  &  G
          &  G    @9 5   B? (  
 "? 6          6   )    )   6      
 6    6      56 ?     ?(

                                       
                                                              
                     6 6          
      6   $   & ? 
 $      6   '

         (           %    6 (  6    6  
  *6 ;  &    % &    @9 
 5   B?  &  &         &      6 
        *      * () 
   %    6  *       * "     
    6   $$*      * " 
     6    @     ( 6     6 
 *      * "    &       '

             (   $$*      * " (
             (   6    $$ *      
                 * " (
             (  6    $$*      * 
                 "       $$(

   $$    6 $    *   
    * "      " 6      
 ? 6   ( 6   $$*   
    * "   6     &     6  % 
     (;    *     * "    
 &     6    I2/0 6  6   % 
    6          *   
    * " (   &   6 E66  
 *      * "      6   ) ?
     6  (

         2(           &  &  (   &  &     
 *      * " $ " *  6    
   I-3/0     *      * 
 " $ " *  6         6 
   $$$ *  (

        -(       F (

             ( 7  B #     * "       
                                              ,



                                                                Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 6
                                                             6 of
                                                               of 40
                                                                  40 PageID:
                                                                     PageID: 12370
                                                                             12590



              
               6   6     6 
                  6      
            6         F &   
              6   6           
                 $  6 $    6  
                            
               6          6      
                 * " ?   "  6 6   
                             6  
                  %     * " F G

         ( 7  B #  *  "   6    
            * "   6     6 
                  6      
            6         F &   
              6   6           
                 $  6 $    6  
                            
               6          6      
              *   "  ?   "  6 6       
                 6         6 6  
                 % *  " F G

          ;         6  B #  % 
             &        6    
             6      6        
              F &     $   6 $    6 
                6           
                            
             F & ?    - ( 
             % &    6        6     
                           6 6            
              E6   6  6          #    
               #     B       +;; * F   .1,
               ,27((*(H.4- 95     B  
             F   ;  6   .3, : F%   *  & 
                 @               
             B # (

                 66           6   
               *  ;   %A$ = 7    
            6               
                 6   (% &  $   
              6  /,2 *  * *'

                                           /



                                                              Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 7
                                                             7 of
                                                               of 40
                                                                  40 PageID:
                                                                     PageID: 12371
                                                                             12591



                 
                         B%BF 5FB5B B#>B%>BLB%#>*5 ;"
                        < <B*FB#;>F>FFB5B ;%& FA#>B%>
                        !%>:>F7&B*>BL;;%<;>F<BF9 +>F 
                        <B;"B>9BLB*7;%<BFB5B B %#< ;9
                        !%>:% A<;">F<BF:>75#< +B" BF; 55A
                         999B*B#<;>F<BFB5B"B%:;<<B
                        #B >F>FFB5B ;%& FA(

                % &  ?       /,2   6
                   (% &  6          
                     $      ?   
                (; % &  @      6    
                       F &  $  6 $  
                6 6 6 (B? % &  "% 
                &  6         $ 
                F &   6  (

            (% &  6            
                               (6 6    
                                '    
                     G        )
                 6       G     6
                        (

         ,(      ;  &    % &  (6D  *6   % 
 &     6       ;  &  
 I0000(00       $ 6   56   
 *      * " (;  &     00J  )
   9 0.. 6  % &  (% 
 &           ?     6     
      ;  &  (6  *6  6     
 6    6  %    6 (
 
         /(          @9 5   B? (* *6      
 $  6       6 --=-J   "? 6     6 
   @ 6     6     I-,4000(00 6  6 )
 )$       ?   (         @9 5   B? 
  *6   6            @ 
 ?  6          56   6    @
 ?                      
 %          D   (B? 
   &      ?       
 56     $ 6      (6  *6  
 6     6    6  %    6 (
                                                1



                                                                    Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 8
                                                             8 of
                                                               of 40
                                                                  40 PageID:
                                                                     PageID: 12372
                                                                             12592



                 

         1(     % (%        *      
 * "  *6 (% &     *6  
       &  6         B? -
  (

       3(           (8%#*          55* 
                  (

            (                      
                        6  6      '

                      ( F  &  6         
                                     &  
                              %  6   )6  
                               6        6   G

                      ( F> )>6 FE6  D  G

                     ( B        )     
                               E6*      * 
                          "      G

                     ( B         $        
                          % G

                      ( * 6      &   *      * 
                         "   6  6       ?    
                             ? 6   9    > 
                         86   6      $   *  "  
                             * "      )6  
                                        ? 
                           ? 6  (

                     ( &     "? 6     6 6  @9
                          5   B? ;  &  &  &    
                         5:#       &   *6  G

                     ( F  6 6  *      * 
                          "      6   :$:$  6  
                             &  G

                 ( & 5:# @ &  &       &  
                          *      * " $
                         " *  G

                                                3



                                                                    Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 9
                                                             9 of
                                                               of 40
                                                                  40 PageID:
                                                                     PageID: 12373
                                                                             12593



                  
                      ?( ! & @6     6    % 
                          > )>6 FE6  D        &   
                            6     $        G 

                      ?( &             
                         6E6   & (

            (       6              @      
                  6    *6     6 
                 D6             6     
                              6 6 (

            (   ?                
                &      I-/000(        &   
                 *6       "? 6    
                    6 (

       4(        #   F  & (

            ( * *6        "   %      ,
                   & ?6      *6 
                   6 6      (* *6   
                6    @6     "  %     
                 6        (

            ( :  -0          % 
                 6                B?   
                   $           $  
                   6    6 %6  6 :$
               :$ *      * "   6 :$
               :$$*      * "  " 
               *  (:  /    * *6     
                          $       
               *     * " (* *6   $  
                                6  
                6    6      (

            ( 7        4    
                              6  6  
                  *      * "  6 7  
                  & >@%   *  %*>  (

            ( :  /        4  
                                    
                   &            
                   )    %      *      
                                                4



                                                                   Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 10
                                                             10 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12374
                                                                              12594



                 
                * " (

          (                 %        
                       6     3   
                6   )          
                  3(

          (         * "   ? 6     ((
                 )6      6  9 * "   
                > )>6 FE6            $ F 
                #  ( $   > )>6 FE6   ? 6  
                      > )>6 FE6     6  ( 6
                > )>6 FE6         6     6 
                $  ? 6   66    6 
                E6 ? 6      (    * " 
                E6 ? 6               
                &      6             
                  D           (;   
                * "   )6  D       D   
                   (*  "     )6     (; 
                 6     * "  *  " 
                6   > )>6 FE6      6    6  
                   * " F 6    *  " 
                   &   6  *  " F (

          ( %    6   F #      
                   6   &        * 
             " 6  > )>6 FE6        
              6E6      (

          (          * "       )6  
                   6        > )>6 FE6   *  
                "  6      @    6     
                   F   86       
                *6          (

          (        *     *   D   
                    6   D   $ F #  (

                    (   D   6        
                               9 )* 7       
                        $ F #  (D  
                         6   *     * "    6
                         6          6 
                           6  D     6   D  (
                       ; D  6     D   6   
                                               .



                                                                 Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 11
                                                             11 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12375
                                                                              12595



                
                                 6  (; D    
                             9        6  
                              D   6      D 
                              $   (

                     (                  
                           D   * *6    6    @
                         *6               6 
                            (;     D * *6  
                             )    D    * $*6
                            6  (

                    (      D      9 <    
                            66   D ( D  
                             9 <  6         
                             =6  =  D  ( D   
                           =D      (    * " 
                           6   > )>6 FE6 6   *  " 
                               6  D       (  6   
                               $ D         
                            D           
                               (

                    (              D   6    *6 
                                 *6    &  @"  9  
                              (

          D(  ?  *     * " 6   6 
                 $$   6 6 6:)2
                  <F               6
                   6 (          6 (
                6    @ 6  6          
                6   6   *     * " 
                 $         6  
                   6    *     * "    
                   -6     ( 6  6 6  
               F #  (

          $( % &          "  9  
                    @  ;   &  
              5 F6  #  %8(* *6   
               "  9      6    @*6  
                6    (

           (   6        "? 6     6      
                      06    B # (
                                            0



                                                                     Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 12
                                                             12 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12376
                                                                              12596



                 

              ( :  20     6       "? 6 
                     6           6   
                 *  "     * "      )
                 6      5:# G% &  G * 
                 *6  (          6      &  
                    *6 )          (

             (                 *   
                  * "       $  -0
                      &  (

            ( 9 *     * "    
                  $ 10             
                    6    6  6 7  
                 & >@%*>       6  
               $ ) $       $  6 
               (

            (    $    .0 6   (
                  6   66  6 $  6  
                   *        (;  
                  6   66  6 $ 
                           BE6 86 ;   (
               &               
                  6       (

         .(         ; 6    &  (;        
    56   6    &      '/0J 
   ;F9 :)2 6 *      * 
 "          G /0J    E6  
      ;F9 0..)";* 6 *   
    * "          ( 6     $    
    ?               (% 
 &   *      * "           
     6    6               (
   6                    )  
    ?6   6    (

         0(     %*    &  (   &    *  
     * " 6          66  
        6  6        6       
  *     * "      6 6       
      6  ,0$   $6      $ 
   &>         (F   & @      
           6   6   *  
                                               



                                                                 Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 13
                                                             13 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12377
                                                                              12597



                 
    * "    6        
 ? 6  F *  (

         (     B 86  (;  D6     "  9     
    % &   E6    *6       86  
        G       E6 G
   56  D6     D  *  "  
    * "      6      66  =
 $          6     (

         2(     *     % )#  %  6    
              56  &  
    (% % &    6   6     
      6      6     (;* *6      
                       (&  
 6          (%       * *6   
          6  66     #  %
 8@$          (;        6* 
 *6             6 (%    
    6             6   6  56     
     6 6(

        -(        %  (;         
 6 )6 ">7       6 66   9 
 F6 * &6 9 F6 B (

        ,(    6    @F  : (     6       
     -J     * "  6     (

         /(    &#6   ;    (% &   * *6  
          6             
   6      10 B # ? 6     6 
     6  6      6 (% &   * 
 *6  6      6           6    
  6 6   6   56   6  
             (

          1(    %   5  (%  6 )6 ">7 
    6          6        
   6    ( F  6         "   
 ?      E6   95     ;  %A$ 
 *        ( 6    6        
       % &   *      *  
       $     *     * 
 " ( 6                $?  
 6   6    (
                                              2



                                                                 Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 14
                                                             14 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12378
                                                                              12598



                 

          3(     %   & *  * F    (
 ">7        6            6 
    6              
      95     9 F6 * &6F6 2-
    &      (             
                  
 6  95    F6 2- &      (
 :  6              *    
 6  6         6       6  
   66  9 F6 * &6F6 2-    (
 ;               
             6   
     (

       4(     *6  (       ?6    
 6  ( ?6 6           6  (

        .(            (         6  & 
  6         ?6 6  
    6     6     % &   *    
    * (  6            
    6 6        
       (

        20(    *  6  (B  6       
              (    6   6  
    6 6                
                   (

         2(       5(            
     6      %8 6  
    ?   ?       7         
    6    (

         22(      *  6 86  (*6    D6       
                      6 
                           
      (

         2-(     #6 (%       $    
          ( 6          
             #  66       % 
 &    "       % (  6  
   *6 66  &22(

                                              -



                                                                  Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 15
                                                             15 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12379
                                                                              12599



 

        24.    Amendment or Modification. No amendment, change, or modification to this
 Settlement Agreement will be valid unless in writing and signed, either by the Parties or their
 counsel.

          25.     Acknowledgment that the Settlement is Fair and Reasonable. The Parties believe
 this Settlement Agreement is a fair, adequate and reasonable settlement of the Lawsuits and have
 DUULYHGDWWKLV6HWWOHPHQWDIWHUDUP¶V-length negotiations and in the context of adversarial
 litigation, taking into account all relevant factors, present and potential. The Parties further
 acknowledge that they are each represented by competent counsel and that they have had an
 opportunity to consult with their counsel regarding the fairness and reasonableness of this
 Settlement.

         26.    Invalidity of Any Provision. Before declaring any provision of this Settlement
 Agreement invalid, the Court will first attempt to construe the provision as valid to the fullest
 extent possible consistent with applicable precedents so as to find all provisions of this Settlement
 Agreement as valid and enforceable.

         27.     Waiver of Certain Appeals. Named Plaintiffs agree to waive appeals; except,
 KRZHYHUWKDW1DPHG3ODLQWLIIVRU&ODVV&RXQVHOPD\DSSHDODQ\UHGXFWLRQWRWKHDWWRUQH\V¶IHHV
 and litigation costs below the amount they request from the Court, and either Party may appeal
 DQ\&RXUWRUGHUWKDWPDWHULDOO\DOWHUVWKH6HWWOHPHQW$JUHHPHQW¶VWHUPV

         28.     Binding Agreement. The Parties warrant that they understand and have full
 authority to enter into this Settlement Agreement, and further intend that this Settlement
 Agreement will be fully enforceable and binding on all parties, and agree that it will be admissible
 and subject to disclosure in any proceeding to enforce its terms, notwithstanding any mediation
 confidentiality provisions that otherwise might apply under federal or state law.

         29.     Sole and Entire Agreement. This Settlement Agreement sets forth the entire
 agreement between the Parties hereto. This Settlement Agreement fully supersedes and replaces
 any and all prior oral or written agreements or understandings between the Parties hereto
 pertaining to the subject matter hereof.
               
 Executed this __ day of July 2020 by:
                                               Burlington Coat Factory Warehouse
                                               Corporation, Burlington Coat Factory
                                               Investment Holdings, Inc., Burlington Coat
                                               Factory Holdings, LLC f/k/a/Burlington Coat
                                               Factory Holdings, Inc., Burlington Stores,
                                               Inc.,

                                               Print Name: Karen Leu

                                               Title: General Counsel

                                               14
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 16
                                                             16 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12380
                                                                              12600
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 17
                                                             17 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12381
                                                                              12601



                 
 $#!  %%"!   
                                                 


                  
 $#!  %%"!
                                               


 $#!  %%"!   
                                              


 $#!  %%"!   
                                                




                                             



                                                               Doc ID: aff16e8055ae71270dd9fcef2c56fe3c51f0727a
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 18
                                                             18 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12382
                                                                              12602



                 
 B?6  MM86 2020'
                                                


 B?6  MM86 2020'
                                             !


               2020'
 B?6  MM86
                                            "


 B?6  MM86 2020'
                                            #   $




                                            /



                                                              Doc ID: 7869027b064e61b70abd6e2fd9469e7c7f370d62
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 19
                                                             19 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12383
                                                                              12603



                 
 $#!  %%"!   
                                                


 $#!  %%"!   
                                              


 $#!  %%"!   
                                             


                 
 $#!  %%"!
                                               




                                            



                                                              Doc ID: 6d6a74f1a9434b3302b454b810a02d39c8903f7d
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 20
                                                             20 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12384
                                                                              12604




                      EXHIBIT 1
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 21
                                                             21 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12385
                                                                              12605




                                     UNITED STATES DISTRICT COURT
                                           DISTRICT OF NEW JERSEY
   -------------------------------------------------------X
   STEVEN GOODMAN, Individually and                      :
   on Behalf of All Other Persons Similarly              :   Civil Action No.: 1:11-cv-04395-JHR-JS
   Situated,                                             :
                                                         :
                              Plaintiff,                 :
                                                         :
                     -against-                           :
                                                         :
   BURLINGTON COAT FACTORY                               :
   WAREHOUSE CORPORATION,                                :
   BURLINGTON COAT FACTORY                               :
   INVESTMENT HOLDINGS, INC., and                        :
   BURLINGTON COAT FACTORY                               :
   HOLDINGS, INC.,                                       :
                                                         :
                                       Defendants. :
   -------------------------------------------------------X
   BARBARA KAWA, THERESA MASSEY :
   and DANIELLE SOLECKI, Individually                    :
   and on Behalf of All Other Persons                    :  Civil Action No.: 1:14-cv-2787-JHR-JS
   Similarly Situated,                                   :
                                                         :
                                       Plaintiffs,       :
                                                         :
                     -against-                           :
                                                         :
   BURLINGTON STORES, INC.,                              :
   BURLINGTON COAT FACTORY                               :
   WAREHOUSE CORPORATION,                                :
   BURLINGTON COAT FACTORY                               :
   INVESTMENT HOLDINGS, INC., and                        :
   BURLINGTON COAT FACTORY                               :
   HOLDINGS, LLC f/k/a BURLINGTON                        :
   COAT FACTORY HOLDINGS, INC.,                          :
                                                         :
                                       Defendants. :
   -------------------------------------------------------X

                 [PROPOSED] FINAL APPROVAL ORDER AND JUDGMENT

          This matter comes before the Court on Plaintiffs’ Motion for Final Approval of the

   Proposed Settlement of the above captioned actions (the “Motion for Final Approval”). The
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 22
                                                             22 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12386
                                                                              12606




   parties have duly consented, pursuant to Fed. R. Civ. Pro 73, to this Court’s authority to conduct

   all proceedings concerning approval of the proposed Settlement set forth in the Parties’
   Settlement Agreement (the “Settlement Agreement”), attached as Exhibit ___ to the Declaration

   of Seth R. Lesser (“Lesser Dec.”) filed herewith. After review and consideration of the

   Settlement Agreement, the papers in support of the Motion for Final Approval, including the

   Lesser Dec. and all of its accompanying exhibits, it is hereby ordered as follows:

          1.      The Court has jurisdiction over the subject matter of the above-captioned actions

   (the “Actions”), all members of the Collective, and members of the Settlement Class [except

   those who have timely and validly opted-out of the Settlement as identified below], and

   Defendants pursuant to 28 U.S.C. §§ 1331, 1332, and 1367.

          2.      All defined terms in the Settlement Agreement shall have the same meaning in

   this Final Approval Order and Judgment.

          3.      In accordance with Federal Rule of Civil Procedure 23 and the requirements of

   due process, the Collective and Settlement Class Members have been given proper and adequate

   notice of the Settlement and the Fairness Hearing, and, as evidenced by the Declaration of

   _____[JND] (“_____ Declaration”) such notice was carried out in accordance with the Order

   Approving Settlement Notice and the Settlement Agreement. In addition, as evidenced by the

   ____ Declaration, notice has been provided to appropriate Federal and State officials as required

   by the Class Action Fairness Act, 28 U.S.C. § 1715,

          4.      The Notice and notice methodology implemented pursuant to the Settlement

   Agreement and the Court’s Order Approving Settlement Notice (a) were appropriate and

   reasonable and constituted due, adequate and sufficient notice to all persons entitled to notice;

   and (b) met all applicable requirements of the Federal Rules of Civil Procedure and any other

   applicable law.

          5.         The Court approves the proposed Settlement of the Actions. The Court finds, for

   the reasons set forth in Plaintiffs’ Memorandum In Support of Final Approval insofar as it would

   resolve the Kawa Action, it meets all of the requirements of Fed. R. Civ. Pro. 23(e)(2).

                                                    2
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 23
                                                             23 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12387
                                                                              12607




            6.    The Settlement was negotiated with the assistance of an experienced mediator, at

   arm’s-length, by experienced counsel who were fully informed of the facts and circumstances of

   the Actions and of the strengths and weaknesses of their respective positions. The Settlement

   was reached after the parties had completed extensive discovery and investigation, conducted

   legal research, and exchanged written discovery, conducted multiple depositions, and reviewed

   hundreds of thousands of pages worth of documents.           Counsel for both sides were well

   positioned to evaluate the benefits of the Settlement, taking into account the expense, risk, and

   uncertainty of protracted litigation over numerous questions of fact and law. The Settlement is

   therefore fair, reasonable and adequate.
            7.    The Court further finds, for the reasons set forth in Plaintiffs’ Memorandum In

   Support of Final Approval, that the proposed Settlement of the FLSA claims asserted by

   Collective Members in the Goodman Action is a settlement of a bona-fide dispute, is a fair and

   reasonable compromise of the FLSA claims asserted that is in the best interests of the Collective

   Members and comports with the factors set forth in Girsh v. Jepsen, 521 F.2d 153, 157 (3d Cir.

   1975).

            8.    The Court finds that for the purpose of this Settlement, the requirements of Rule

   23 of the Federal Rules of Civil Procedure are satisfied, and that a class action is an appropriate

   method for resolving the state law claims asserted in the Kawa Action. All the prerequisites for

   class certification under Rule 23 are present. The Settlement Class Members are ascertainable

   and too numerous to be joined. For settlement purposes only, questions of law and fact common

   to all Settlement Class Members predominate over individual issues and should be determined in

   one proceeding with respect to all of the Settlement Class Members. The Kawa Named

   Plaintiffs’ claims are typical of those of the Settlement Class for settlement purposes. The Kawa

   Named Plaintiffs and Class Counsel meet the adequacy requirements of Fed. R. Civ. P. 23(a)(4).

   For settlement purposes, the class action mechanism is superior to alternative means for

   adjudicating and resolving the state law claims asserted in the Kawa Action.



                                                   3
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 24
                                                             24 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12388
                                                                              12608




          9.      The Court finally certifies the following Settlement Class for purposes of this

   Settlement only:
                  a. Individuals who worked for Burlington in California as an Assistant Store
                     Manager at any time between May 1, 2010 through [Date of Order Approving
                     Settlement Notice];
                  b. Individuals who worked for Burlington in Illinois as an Assistant Store
                     Manager at any time between May 1, 2011 through [Date of Order Approving
                     Settlement Notice];
                  c. Individuals who worked for Burlington in New York as an Assistant Store
                     Manager at any time between May 1, 2008 through [Date of Order Approving
                     Settlement Notice];

          10.     The Court also appoints the Kawa Named Plaintiffs (Barbara Kawa, Theresa

   Massey, and Danielle Solecki), as Representatives of the Settlement Class (“Class Plaintiffs”) as

   they meet the requirements of Fed. R. Civ. Pro. 23(a)(4) for the purposes of settlement and

   Klafter Olsen & Lesser LLP, Locks Law Firm LLC, and Javerbaum Wurgaft Hicks Kahn

   Wikstrom & Sinins, P.C. as Class Counsel for the Settlement Class as they meet the

   requirements of Fed. R. Civ. Pro. 23(g) for the purposes of settlement.

          11.     Class Counsel, are hereby awarded attorneys’ fees in the amount of

   $___________________,       which    the   Court    finds   to   be   fair   and   reasonable,   and

   $___________________ in reimbursement of reasonable expenses incurred in prosecuting the

   Actions. The attorneys’ fees and expenses so awarded shall be paid from the Total Maximum
   Settlement Amount pursuant to the terms of the Settlement Agreement and these sums are to be

   paid to Klafter Olsen & Lesser LLP to be distributed to the other Class Counsel.

          12.     The Court finds that the Named Plaintiffs have conferred a substantial benefit on

   the Collective and Settlement Class Members by initiating the Goodman or Kawa Action and

   assisting in the prosecution of the claims asserted in the Actions and hereby directs payment as

   provided under the terms of the parties’ Settlement Agreement from the Total Maximum

   Settlement Amount to Named Plaintiffs Steven Goodman, Barbara Kawa, Theresa Massey, and

   Danielle Solecki of $10,000 to each, as Incentive Payments.



                                                   4
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 25
                                                             25 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12389
                                                                              12609




           13.     The Court finds that the Settlement Administrator’s fees and expenses are
   reasonable and approves the payment of $___________ to the Settlement Administrator from the

   Total Maximum Settlement Amount in accordance with the terms of the Settlement Agreement.

           14.     The certification of the Settlement Class is for settlement purposes only and shall

   not constitute, nor be construed as, an admission on the part of Defendants that these claims are

   appropriate for class treatment pursuant to Federal Rule of Civil Procedure 23, or any other

   similar class rule. Nor shall this Final Approval Order and Judgment be construed, used, offered,

   or admitted into evidence as an admission or concession by Defendants of the validity of any

   claim or any actual or potential liability or fault.

           15.     Final Judgment is entered in the above-captioned cases in accordance with this

   Final Approval Order and the Settlement Agreement.

           16.     Following the Effective Date as provided for in the Settlement Agreement and

   receipt of the Total Maximum Settlement Amount from Defendants as provided for in the

   Settlement Agreement, the Settlement Administrator shall effectuate distribution of the

   settlement funds to the Collective and Settlement Class Members in accordance with the terms of

   the Settlement Agreement.

           17.     Upon the Effective Date provided for in the Settlement Agreement, all Settlement

   Class Members other than those who have timely and validly excluded themselves from the

   Settlement (who are identified in Exhibit A hereto) will be deemed to have released the claims

   included in the Settlement Class Member Release as set forth in Section 3(a) of the Settlement

   Agreement, and which is incorporated herein.

           18.     The Kawa Action is hereby dismissed with prejudice.

           19.     Upon the Effective Date provided for in the Settlement Agreement, all Collective

   Members will be deemed to have released the claims included in the Collective Member Release

   as set forth in Section 3(b) of the Settlement Agreement, and which is incorporated herein.




                                                      5
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 26
                                                             26 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12390
                                                                              12610




          20.     Upon the Effective Date provided for in the Settlement Agreement, all Named

   Plaintiffs will be deemed to have released the claims as set forth in Section 3(c) and 3(d) of the

   Settlement Agreement, and which is incorporated herein.

          21.     The Goodman Action is hereby dismissed with prejudice.

          22.     The Court shall retain exclusive and continuing jurisdiction over the Actions, the

   Collective Members, the Settlement Class Members (who have not timely and validly opted-out

   of the Settlement), and Defendants, to interpret and enforce the terms, conditions, and

   obligations of the Settlement Agreement.

          IT IS SO ORDERED.
   Dated: ___________                                  ____________________________
                                                       Hon. Joel Schneider
                                                       UNITED STATES MAGISTRATE JUDGE




                                                   6
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 27
                                                             27 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12391
                                                                              12611




                      EXHIBIT 2
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 28
                                                             28 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12392
                                                                              12612




                                    UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY

   -------------------------------------------------------X
   STEVEN GOODMAN, Individually and on :
   Behalf of All Other Persons Simlarly                  :    Civil Action No.: 1:11-cv-04395-JHR-JS
   Situated,                                             :
                                                         :
                              Plaintiff,                 :
                                                         :
                     -against-                           :
                                                         :
   BURLINGTON COAT FACTORY                               :
   WAREHOUSE CORPORATION,                                :
   BURLINGTON COAT FACTORY                               :
   INVESTMENT HOLDINGS, INC., and                        :
   BURLINGTON COAT FACTORY                               :
   HOLDINGS, INC.,                                       :
                                                         :
                                       Defendants. :
   -------------------------------------------------------X
   BARBARA KAWA, THERESA MASSEY :
   and DANIELLE SOLECKI, Individually                    :
   and on Behalf of All Other Persons                    :    Civil Action No.: 1:14-cv-2787-JHR-JS
   Similarly Situated,                                   :
                                                         :
                              Plaintiffs,                :
                                                         :
                     -against-                           :
                                                         :
   BURLINGTON STORES, INC.,                              :
   BURLINGTON COAT FACTORY                               :
   WAREHOUSE CORPORATION,                                :
   BURLINGTON COAT FACTORY                               :
   INVESTMENT HOLDINGS, INC., and                        :
   BURLINGTON COAT FACTORY                               :
   HOLDINGS, LLC f/k/a BURLINGTON                        :
   COAT FACTORY HOLDINGS, INC.,                          :
                                                         :
                                       Defendants. :
   -------------------------------------------------------X
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 29
                                                             29 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12393
                                                                              12613




                                            [PROPOSED]

                         ORDER APPROVING SETTLEMENT NOTICE
          This matter comes before the Court on Plaintiffs’ Motion For Approval of an Order

   Approving Settlement Notice (the “Motion for Settlement Notice”) in the above-captioned

   actions (“the Actions”). The parties have duly consented, pursuant to Fed. R. Civ. Pro 73, to this

   Court’s authority to conduct all procedings concerning approval of the proposed Settlement set

   forth in the Parties’ Settlement Agreement (the “Settlement Agreement”), attached as Exhibit 1

   to the Declaration of Seth R. Lesser (“Lesser Dec.”) filed herewith. After review and

   consideration of the Settlement Agreement, the papers in support of the Motion for Settlement

   Notice, including the Lesser Dec. and all of its accompanying exhibits, it is hereby ordered as

   follows:

          1.      The Court preliminarily approves the proposed Settlement of the Actions,

   including all terms and conditions set forth in the Settlement Agreement, and the Total

   Maximum Settlement Amount and the allocation of payments. The Court finds, for the reasons

   set forth in Plaintiffs’ motion papers, that it will likely be able to approve the proposed

   Settlement insofar as it would resolve the Kawa Action, pursuant to Fed. R. Civ. Pro. 23(e)(2)

   and the Goodman Action pursuant to the factors set forth in Girsh v. Jepsen, 521 F.2d 153, 157

   (3d Cir. 1975) in that, inter alia, it appears to be an arms-length agreement that is a fair,

   reasonable, and adequate settlement that is in the best interests of the Collective Members and

   Settlement Class Members. All defined terms in the Settlement Agreement shall have the same

   meaning in this Order.

          2.      The Court also preliminarily certifies a Settlement Class composed of the

   following persons:

               a. Individuals who worked for Burlington in California as an Assistant Store
                  Manager at any time between May 1, 2010 through [Date of the approval of the
                  Settlement Notice];
               b. Individuals who worked for Burlington in Illinois as an Assistant Store Manager
                  at any time between May 1, 2011 through [Date of the approval of the Settlement


                                                   2
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 30
                                                             30 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12394
                                                                              12614




                  Notice]; and
               c. Individuals who worked for Burlington in New York as an Assistant Store
                  Manager at any time between May 1, 2008 through [Date of the approval of the
                  Settlement Notice].
          3.      The Court finds that certification of the Settlement Class listed above, solely for

   purposes of Settlement, is likely in that, for the reasons set forth in Plaintiffs’ moving papers: (a)

   the Settlement Class Members are so numerous that joinder of all Settlement Class Members is

   impracticable; (b) there are questions of law and fact common to the Settlement Class which

   predominate over any individual questions; (c) the Kawa Plaintiffs’ claims are typical of the

   claims of the Settlement Class; (d) the Kawa Plaintiffs and Class Counsel have fairly and

   adequately represented and protected the interests of the Settlement Class; and (e) a class action

   settlement is superior to other available methods for the fair and efficient adjudication of the
   claims asserted in the Kawa Action.

          4.      The Court hereby preliminarily appoints the Kawa Named Plaintiffs (Barbara

   Kawa, Theresa Massey, and Danielle Solecki), as Representatives of the Settlement Class

   (“Class Plaintiffs”) as it is likely that they meet the requirements of Fed. R. Civ. Pro. 23(a)(4).

          5.      In accordance with Rules 23(a)(4) and (g), the Court preliminarily approves

   Klafter Olsen & Lesser LLP, Locks Law Firm LLC, and Javerbaum Wurgaft Hicks Kahn

   Wikstrom & Sinins, P.C. as Class Counsel for the Settlement Class as it is likely that they meet

   the requirements of Fed. R. Civ. Pro. 23(g).

          6.      The Court finds that the plan for providing notice to the Settlement Class set forth

   in the Settlement Agreement, ¶8 and the form of Settlement Notice attached as Exhibit 3 to the

   Settlement Agreement is the best notice practicable under the circumstances and satisfies the

   requirements of due process and Rule 23(e)(1). That content of the Settlement Notice and plan

   for distributing it to Settlement Class Members and Collective Members is hereby approved.

          7.      The Court appoints JND Class Action Administration, LLC as the Settlement

   Administrator for this Settlement. The fees and expenses of the Settlement Administrator will be

   paid from the Total Maximum Settlement Amount as provided for in the Settlement Agreement.


                                                     3
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 31
                                                             31 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12395
                                                                              12615




          8.      To effectuate the Settlement, the Court hereby establishes the following deadlines

   and dates for the acts and events as set forth in the Settlement Agreement, and directs the parties

   to incorporate the deadlines and dates in the Settlement Notice as follows:


                          DESCRIPTION                                    DEADLINE

       Deadline for Defendants to provide to             Within 30 calendar days after entry of
       SettlementAdministrator an Excel Spreadsheet      this Order.
       of all Settlement Class and Collective
       Members, including each person’s name, last
       known mailing address, email address if
       available, telephone number if available,
       social security number, and number of Weeks
       Worked as an ASM during the relevant time
       periods

       Deadline for Plaintiffs to provide to the         Within 5 calendar dates after
       Settlement Administrator the last known email     Defendants provide the Excel
       addresses of Collective and Settlement Class      Spreadsheet to the Settlement
       Members.                                          Administrator.

       Deadline for mailing of Settlement Notice by      Within 15 calendar days after receipt
       Settlement Administrator to the Collective and    of the electronic files of Collective
       Settlement Class Members.                         and Settlement Class Members from
                                                         Plaintiffs and Defendants.

       Deadline for Collective and Settlement Class      Within 45 calendar days after the date
       Members to submit written objections to the       of initial mailing of the Settlement
       Settlement.                                       Notice. Any objection must comply
                                                         with the requirements set forth in the
                                                         Settlement Agreement, ¶8(i).

       Deadline for Settlement Class Members to opt-     Within 45 calendar days after the date
       out of the Settlement                             of initial mailing of the Settlement
                                                         Notice. Any Opt-Out Request by a
                                                         Settlement Class Member must
                                                         comply with the requirements set
                                                         forth in the Settlement Agreement,
                                                         ¶8(f). Collective Members may not
                                                         opt-out of the Settlement.

       Deadline for Plaintiffs to file Motion(s) for     Ten (10) days prior to the Final
       Final Approval and for an award of attorneys’     Approval and Fairness Hearing


                                                   4
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 32
                                                             32 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12396
                                                                              12616




                           DESCRIPTION                                     DEADLINE

        fees, costs and Incentive Payments

        Final Approval and Fairness Hearing               November ____, 2020 (no earlier
                                                          than 90 calendar days from the date
                                                          Notice of Settlement has been
                                                          provided in accordance with 28
                                                          U.S.C. § 1715)

          9.      The Final Approval and Fairness hearing is hereby scheduled to be held on

   November ___, 2020 at __________ a.m./p.m. at the U.S. District Court for the District of New

   Jersey, Mitchell H. Cohen Building & U.S. Courthouse, 4th & Cooper Streets, Camden, New

   Jersey. This date and time shall be included in the Settlement Notice. If, however, the date

   and/or time of Fairness Hearing is changed, notice of the change need only be posted by the

   Court on the case dockets and by the Settlement Administrator on its case related website.

          10.     If the Settlement does not become final for any reason, the fact that Defendants

   did not oppose the certification of the Settlement Class shall have no bearing on and will not be

   admissible in connection with the issue of whether a class action is properly certified in a non-

   settlement context.    The Court’s findings are for purposes of preliminarily certifying the

   Settlement Class and will not have any claim, issue, or evidentiary preclusion or estoppel effect

   in any other action against Defendants and their related entities (as defined in the Settlement

   Agreement) or in this litigation if the Settlement is not finally approved.

          IT IS SO ORDERED.



   Dated: ___________, 2020
                                                         ____________________________
                                                         Hon. Joel Schneider
                                                         UNITED STATES MAGISTRATE JUDGE




                                                     5
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 33
                                                             33 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12397
                                                                              12617




                      EXHIBIT 3
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 34
                                                             34 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12398
                                                                              12618




                          UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY
            Goodman v. Burlington Coat Factory Warehouse Corporation, et al.,
                       (Goodman), Case No. 11-CV-4395-cv-00644
                      Kawa, et al. v. Burlington Stores, Inc., et al.,
                             (Kawa), Case No. 14-CV-02787


         OFFICIAL COURT-AUTHORIZED NOTICE OF PROPOSED SETTLEMENT

   To:     [Name of Collective or Settlement Class Member]

   Re:    Settlement of Lawsuits For Alleged Misclassification of Assistant Store Managers
          (“ASMs”) of Burlington Coat Factory Warehouse Corporation, Burlington
          Coat Factory Investment Holdings, Inc., Burlington Coat Factory
          Holdings, LLC f/k/a/Burlington Coat Factory Holdings, Inc., and
          Burlington Stores, Inc. (“Burlington”)

                                          INTRODUCTION

           On [DATE], the Court authorized this Notice describing a proposed settlement of the two
   lawsuits listed above (the “Lawsuits”) be sent to you. You have received this Notice because you
   opted into the Goodman Action by signing a Consent to Join or because Burlington’s records
   indicate that you are a member of the Settlement Class described below. In either case, you are
   therefore entitled to a Settlement Payment if the Settlement is approved by the Court. Your
   estimated Settlement Payment is approximately $_______.

           To receive your Settlement Payment, you do not need to do anything. If the Court
   approves the Settlement, you will be mailed your Settlement Payment directly. If you are a
   Settlement Class Member, then you can opt-out of the Settlement by following the procedures
   described in Section 7 below and you will not receive a Settlement Payment. You may not opt
   out of the Settlement if you previously opted into the Goodman Action. You can also object to
   the Settlement or any part of it (but if you object, and you are a Settlement Class Member, you
   cannot opt-out) following the procedures described in Section 8 below.

    1. What Are the Lawsuits About and Why Was This Notice Sent?

            Plaintiffs in Goodman and Kawa allege that Burlington misclassified Operations
   Managers, Customer Service Logistics Managers, and Merchandise Managers (collectively
   “ASMs”) as exempt under the federal Fair Labor Standards Act and the laws of California,
   Illinois, and New York and therefore failed to pay all overtime wages owed, among other
   related claims.

           Burlington has denied and continues to deny the factual and legal allegations in the
   Lawsuits and believes that it has valid defenses to the claims. By agreeing to settle, Burlington
   is not admitting liability on any of the factual allegations or claims in the Lawsuits or that the

                                                    1
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 35
                                                             35 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12399
                                                                              12619




   Lawsuits can or should proceeds on a collective or class basis. Burlington has agreed to settle
   the Lawsuits as part of a compromise with Plaintiffs.

    2. Who is Included in the Settlement?

           The Settlement includes both members of the Collective (“Collective Members”)
   certified by the Court and members of the Settlement Class (“Settlement Class Members”).

          The Collective Members are:

              x   All individuals who submitted consents to join in the Goodman action and who,
                  as of [Date of Approving Settlement Notice] have not withdrawn their consent
                  or had their claims in the Goodman action dismissed;

          The Settlement Class Members are:
                 
             x All individuals who worked as ASMs at Burlington stores in California from
                 May 1, 2010 through [Date of Approving Settlement Notice]; 
                 
             x All individuals who worked as ASMs at Burlington stores in Illinois from May 1,
                 2011 through [Date of Approving Settlement Notice];

              x   All individuals who worked as ASMs at Burlington stores in New York from
                  May 1, 2008 through [Date of Approving Settlement Notice];

   ASMs can be both a Collective Member and a Settlement Class Member.

   3. What Are the Terms of the Settlement and How Much Can You Expect to Receive?

          If the Settlement is approved, Burlington will pay a total of $19,613,900 (the “Total
   Maximum Settlement Amount”), which will satisfy and resolve the claims of all Collective and
   Settlement Class Members, including payments to Collective and Settlement Class Members,
   any Incentive Payments to the Named Plaintiffs, the Private Attorneys General Act (“PAGA”)
   Payment, the Administrator Payment, and Attorneys’ Fees and Litigation Expenses.

          Each Collective and participating Settlement Class Member will receive a minimum
   Settlement Payment of $250. Additional settlement amounts will be distributed based on the
   proportional number of work weeks worked by each Collective and participating Settlement
   Class Member as an ASM during the relevant time periods, exclusive of leaves of absence. If
   you are a Collective or Settlement Class Member who worked in California, you will also
   receive a share of the PAGA Payment based on the number of weeks you worked as an ASM in
   California.

        The number of completed workweeks, excluding leaves of absence, you earned as an
   ASM during the applicable period, as reflected in the records provided by Burlington is

                                                  2
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 36
                                                             36 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12400
                                                                              12620




   [NUMBER]. The “applicable period” is not all the time you worked as an ASM, but is only the
   time for which the applicable legal statute of limitations permitted claims to be asserted. If you
   are a Settlement Class Member, your applicable period is indicated in Section 2 above. If you
   are a Collective Member, your applicable period is up to three years before you joined the
   Goodman Action through Date of Approving Settlement Notice. If you don’t know when you
   joined the Goodman Action, you may contact the Settlement Administrator for this information.

          If you believe that your number of completed workweeks during the applicable period as
   an ASM is not accurate, you can indicate your disagreement by notifying the Settlement
   Administrator, but if you do so, you must provide pay-stubs or other documentation supporting
   your claim.

           IRS Forms W-2 and 1099 will be distributed to Collective and participating Settlement
   Class Members and the appropriate taxing authorities representing the payments they receive
   under the Settlement. For the purposes of this Settlement, 50% of each Settlement Payment will
   be allocated as wages for which IRS Forms W-2 will be issued, and 50% will be allocated as
   liquidated damages, penalties and interest for which IRS Forms 1099-MISC will be issued.
   Burlington will be responsible for paying the employer portion of payroll taxes on the amount
   allocated as wages.

   4.    Who is Class Counsel and How Will They Be Paid? And Do the Named Plaintiffs
   receive any additional payments?

          Class Counsel are:

  KLAFTER OLSEN & LESSER LLP                    LOCKS LAW FIRM LLC
  Seth R. Lesser, Esq.                          Michael Leh, Esq.
  Fran L. Rudich, Esq.                          Neel Bhuta, Esq.
  Christopher Timmel, Esq.                      801 North Kings Highway
  Two International Drive, Suite 350            Cherry Hill, New Jersey 08034
  Rye Brook, New York 10573                     Telephone: (856) 663-8200
  Telephone: (914) 934-9200                     Email: __________
  Email: _______________

  JAVERBAUM WURGAFT HICKS KAHN
  WIKSTROM & SININS, P.C.
  Michael Galpern, Esq.
  Zachary Green, Esq.
  1000 Haddonfield Berlin Road
  Suite 203
  Vorhees, New Jersey 08043
  Telephone: (865) 596-4100
  Email: ______________

          These law firms are experienced in handling these types of cases and believe this
   Settlement is an excellent result for you and the other Collective and Settlement Class Members.

                                                   3
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 37
                                                             37 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12401
                                                                              12621




           Class Counsel have pursued the case for the past nine years on a contingency basis.
   They have not been paid fees for their time or reimbursement of any of their out-of-pocket
   expenses for litigating these cases. At the final approval hearing, or at such other time as the
   Court may direct, Class Counsel intend to apply to the Court for an award of attorneys’ fees not
   to exceed one third of the Total Maximum Settlement Amount, or $6,537,966.67. Class Counsel
   will also ask the Court to approve reimbursement of litigation expenses actually incurred in
   connection with the Lawsuits, currently estimated to be no more than $348,000. The Court-
   approved fees and costs will be paid by the Settlement Administrator from the Total Maximum
   Settlement Amount.

          Class Counsel will also request Incentive Payments from the Total Maximum Settlement
   Amount of no more than $10,000 each for the four Named Plaintiffs in the Lawsuits, Steven
   Goodman, Barbara Kawa, Theresa Massey, and Danielle Solecki, in recognition of their efforts
   in coming forward to commence the Lawsuits and taking other action benefiting the Lawsuits.
   As a condition of receiving an Incentive Payment, each Named Plaintiff will agree to an
   individual general release of claims.

          The Attorneys’ Fees and Litigation Expenses and Incentive Payments will not be
   deducted from your estimated Settlement Payment set out above in this Notice.

    5. What Are Your Options?

           You have three options with regards to this Settlement. You can:

                   (1)    Participate in the Settlement by doing nothing;
                   (2)    Opt-out of the Settlement (unless you are a Collective Member); or
                   (3)    Object to the Settlement.

           Details about how each option affects your rights are explained below.

   6. How Can You Participate in the Settlement?

          If you do nothing, you will participate in the Settlement and will be directly sent your
   settlement check should the Court approve the Settlement. Settlement checks will remain valid
   for 190 days after they are issued.

   7. How Can You Exclude Yourself (“Opt-Out”)?

          If you are a Settlement Class Member and you do not want to be part of this Settlement,
   you must submit a written exclusion by First Class U.S. Mail, postage prepaid, to _________,
   postmarked by [45 CALENDAR DAYS AFTER NOTICE MAILING DATE] (“Opt-Out
   Request”). Collective Members may not opt-out of the Settlement. If you are both a Settlement
   Class Member and a Collective Member and you submit an Opt-out Request, then you will not
   be bound by the Settlement Class Member Release (described below), but you will remain a
   Collective Member, receive a Settlement Payment, and be bound by the Collective Member

                                                  4
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 38
                                                             38 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12402
                                                                              12622




   Release (described below).

           To be effective, the Opt-Out Request must express your desire to be excluded from
   the Settlement, and must include your full name, current address, and be signed by you (the
   Settlement Class Member requesting exclusion). If you exclude yourself, you will not
   receive any monies from the Settlement unless you are also a Collective Member.

           If you fail to include the required information, or if your Opt-Out Request is not timely,
   your Opt-Out Request will be deemed null, void, and ineffective. Failure to be excluded will
   result in you remaining a Settlement Class Member and you will be bound by any final
   judgment.

   8. How Can You Object?

          If you want to object to the terms of the Settlement, or any part of it, including the
   request for Attorneys’ Fees and Litigation Expenses, or the request for Incentive Payments, you
   must submit a written objection by First Class U.S. Mail, postage prepaid, to _________,
   postmarked by [45 CALENDAR DAYS AFTER NOTICE MAILING DATE].

           If you object and the Settlement is approved, you will receive a settlement check, you
   will be barred from bringing your own individual lawsuit asserting claims related to the matters
   released through this Settlement, and you will be bound by the final judgment and release, and
   all Orders entered by the Court. You may, but need not, enter an appearance through counsel
   of your choice. If you do, you will be responsible for your own attorneys' fees, costs, and
   expenses. You must also provide notice to the Settlement Administrator if you intend to appear
   at the Final Approval Hearing and whether you or your counsel is making an entry of
   appearance. Any individual who does not timely make their objections in this manner will be
   deemed to have waived all objections and shall not be heard or have the right to appeal
   approval of the Settlement.

   9. What if You Do Nothing?

          If you do nothing and if the Settlement is approved by the Court, you will receive a
   settlement check and will be bound by the terms of this Settlement and the orders and
   judgment entered by the Court.

   10. What Happens If the Court Approves the Settlement?

           If the Court enters final approval of the Settlement, settlement checks will be mailed
   to all Collective and participating Settlement Class Members.

           The Settlement will be binding on all Collective Members as well as all Settlement
   Class Members who do not timely and properly request exclusion. This means that all
   Collective Members, and Settlement Class Members who do not exclude themselves, cannot
   bring their own lawsuits against Burlington based on the claims described in Section 13. This

                                                   5
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 39
                                                             39 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12403
                                                                              12623




   includes, but is not limited to, claims for unpaid wages, liquidated damages, penalties,
   interest, and attorneys' fees, costs and expenses through ________, 2020.

   11. What Happens If the Court Does Not Approve the Settlement?

          If the Court does not approve the Settlement, the case will proceed as if no
   settlement has been attempted and there can be no assurance that the Collective or
   Settlement Class Members will recover more than is provided for in this Settlement, or
   indeed, anything.

   12. When is the Final Settlement Approval Hearing?

          A hearing will be held before the Honorable Joel Schneider of the United States
   District Court for the District of New Jersey on [INSERT DATE] at [INSERT
   TIME] at [INSERT ADDRESS]. The purpose of the hearing is for the Court to
   decide whether the Settlement is fair, reasonable, and adequate and should be
   approved and, if so, to determine the amounts of the Attorneys’ Fees and Litigation
   Expenses and Incentive Payments that should be awarded. The time and date of this
   hearing may be changed without further notice, but any change would be reflected on
   the Court’s docket for the case and the Settlement Administrator’s website set forth
   below.

   13. What Claims Are Being Released?

          If you are a Settlement Class Member and you do not timely and validly exclude
   yourself from the Settlement, you will enter into the following Settlement Class Member
   Release:

         You, including your heirs, agents, representatives, successors, assigns, and
         estates, shall be deemed to have fully, finally and forever, irrevocably and
         unconditionally released, remised, and discharged Burlington and the
         Released Parties from any and all suits, actions, causes of action, claims,
         obligations, rights, liabilities, penalties, or demands, whether known or
         unknown, that were or could have been asserted (whether in tort, contract,
         or otherwise) for violation of local, state, and federal law arising out of, or
         relating to claims that Burlington improperly classified the Settlement
         Class Members as exempt ASMs, including but not limited to the claims
         alleged in the Kawa complaint though [Date of Settlement Notice
         Approval].

   If you are a Collective Member, you will enter into the following Collective
   Member Release:

         You, including your heirs, agents, representatives, successors, assigns, and
         estates, shall be deemed to have fully, finally and forever, irrevocably and

                                                   6
Case 1:11-cv-04395-JHR-JS Document
Case 1:11-cv-04395-JHR-JS Document 462-3
                                   472-3 Filed
                                         Filed 07/28/20
                                               11/20/20 Page
                                                        Page 40
                                                             40 of
                                                                of 40
                                                                   40 PageID:
                                                                      PageID: 12404
                                                                              12624




          unconditionally released, remised, and discharged Burlington and the
          Released Parties from any and all suits, actions, causes of action, claims,
          obligations, rights, liabilities, penalties, or demands, whether known or
          unknown, that were or could have been asserted (whether in tort, contract,
          or otherwise) for violation of local, state, and federal law arising out of, or
          relating to claims that Burlington improperly classified the Collective
          Members as exempt ASMs, including but not limited to claims that
          Burlington failed to provide all overtime wages due through [Date of
          Settlement Notice Approval].

           “Released Parties” means Burlington Coat Factory Warehouse Corporation, Burlington
   Coat Factory Investment Holdings, Inc., Burlington Coat Factory Holdings, LLC
   f/k/a/Burlington Coat Factory Holdings, Inc., Burlington Stores, Inc., Burlington Coat Factory
   of Texas, Inc., and all of their past, present and future parent(s), divisions, units, branches,
   subsidiaries, affiliates, related companies, partnerships, joint ventures, predecessors and
   successors, affiliated organizations, insurers and assigns and all of its and their past, present and
   future directors, principals, officers, stockholders, owners, members, fiduciaries, trustees,
   insurers, employees, attorneys, representatives, heirs, assigns, partners, accountants, auditors,
   consultants, insurers and reinsurers, joint ventures and agents (each in their individual and
   corporate capacities) collectively.

   14. No Retaliation

           Participating in this Settlement will in no way affect your employment with Burlington.
   Burlington is prohibited by law from taking any action against employees who participate in
   the Settlement, do not participate in the Settlement, or object to the Settlement.

   15. Are There More Details Available?

          For additional information regarding this Notice or the Settlement, please contact
   the Settlement Administrator or Class Counsel.

          The Settlement Administrator can be contact at:

          [Contact info for Settlement Administrator] include their website

           Alternatively, if the Clerk of the Court is open for in-person visits, you may examine the
   Court’s files at the Clerk’s office at the United States District Court for the District of New
   Jersey, 4th & Cooper Streets, Camden, New Jersey 08101, or access the case files for the
   Lawsuits available on the United States Court Pacer system, for which additional information
   can be found here: https://www.pacer.gov/documents/pacermanual.pdf.

         PLEASE DO NOT CONTACT THE COURT ABOUT THIS NOTICE OR THE
                               SETTLEMENT



                                                    7
